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IN THE UNITED STATES DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE USJUL!S PH3 hh
wEsTERN DIVISION

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BEVERLY JOYCE WATKINS,
Plaintiff,
vs. No. 05-2007-Ml/P
SHELBY COUNTY HEALTH CARE
CORPORATION d/b/B THE REGIONAL
MEDICAL CENTER, et al.,

Defendants.

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ORDER DENYING DEFENDANTS' MOTION TO CONSOLIDATE
ORDER GRANTING PLAINTIFF'S MOTIONS TO AMEND FILED ON
JANUARY 14, 2005 AND JANUARY 18, 2005
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

On December 7, 2004, Plaintiff Beverly Joyce Watkins filed a
Q;Q §§ Complaint in Shelby County Circuit Court against Shelby
County Health Care Corporation d/b/a The Regional Medical Center
(“The Med”), Kathleen Gammage, Catresa Jackson, Rhonda Nelson, and
Brenita Crawford. The Defendants filed a notice of removal
pursuant to 28 U.S.C. §§ l44l(a) and 1446, requesting this Court to
exercise jurisdiction over plaintiff'S claims of retaliation for

filing a Charge of Discrimination with the Equal Employment

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with ama 5a and/or 79(3) FRCP on ' °O 7

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Opportunity Commission (“EEOC”) and denial of “equal protection,

due process, and procedural due process of the law.”

On January 6, 2005, Defendants filed a motion to consolidate
this action with another case filed by the Plaintiff in this
district court on November 15, 2004 and docketed as Watkins v.
Shelb Count Health Care Cor . d b a The Re ional Medical Center
at Memphis, No. 04-2920-B/V (W.D. Tenn. Mar. 3, 2005). As that
case was dismissed, the motion to consolidate is DENIED.

On January 14 and 18, 2005, plaintiff filed motions requesting
the Court to rule on motions to amend that were filed in the Shelby
County Circuit Court on December l4 and December 27, 2004, prior to
the removal of her complaint to the district court. The motion
filed on December 14, 2004, seeks to amend the complaint by
supplementing the facts supporting plaintiff’s claims against
defendant Crawford. The motion to amend filed December 27, 2004,
contains allegations of retaliatory actions taken by defendants
Gammage, Jackson, and Nelson on and after November 15, 2004.
Technically, the motions were filed in this case before any
responsive pleading was filed. Pursuant to Fed. R. Civ. P. l5(a),
these motions are GRANTED.

Defendants filed an answer to the complaint on January 21,

2005.

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The Court is required to screen in forma pauperis complaints
and to dismiss any complaint, or any' portion thereof, if the
action-

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). Certain aspects of plaintiff's complaint
are subject to dismissal.

Watkins filed a complaint against these defendants on November
15, 2004. See Watkins v. Shelbv Countv Health Care CorD. d/b/a The
Regional Medical Center at Memphis, No. 04-2920¢B/V {W.D. Tenn.
Mar. 3, 2005). The allegations arising from a disciplinary action
taken against the plaintiff in that case are identical to the
allegations in the instant case. United States District Judge J.
Daniel Breen determined that plaintiff failed to allege or
establish that she was disciplined because of her race, color, sex,
religion, or national origin or retaliated against because she
opposed an unlawful employment practice. Judge Breen further
determined that Title VII does not provide a cause of action
against co-workers or supervisors under Wathen v. General Electric
Qg;, 115 F.3d 400, 405 (6th Cir. 1997). Judge Breen also
determined that plaintiff failed to state any viable claims under

the Fourteenth Amendment right to due process and equal protection.

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Plaintiff’s reference to “ignored charges” in case no. 01»2777-Ml/V
is construed as an attempt to relitigate issues previously
determined and dismissed. Those claims are all fully within the
scope her previous case and are barred by both the claim and issue
preclusion branches of the res judicata doctrine. §ee C. Wright,
Law of Federal Courts, § lOOA at 680, 682 (1983). "A final
judgment on the merits of an action precludes the parties or their
privies from relitigating issues that were or could have been
raised in that action." Federated DeDt. Stores. Inc. v. Moitie,
452 U.S. 394, 398 (1981)(emphasis added).

To apply the doctrine of res judicata, three elements must be
present: (1) judgment on the merits in an earlier action; (2)
identity of the parties or their privies in the two suits; and (3)
identity of the cause of action or claims between both suits.
Blonder-Tongue Laboratories v. Univ. of Ill. Foundation, 402 U.S.
313, 323-24 (1971); Brzostowski v. Laidlaw Waste Svs., Inc., 49
F.3d 337, 338 (Tth Cir. 1995); Wade v. Hopper, 993 F.2d 1246, 1252
(Tth Cir. 1993). These factors exist in this case. The individual
defendants in this action were named and dismissed in the previous
federal court litigation by order entered March 2, 2005.

Where a plaintiff has sued parties in serial litigation

over the same transaction; where plaintiff chose the

original forum and had the opportunity to raise all its

claims relating to the disputed transaction in the first
action; where there was a "special relationship" between

the defendants in each action, if not complete identity

of parties; and where although the prior action was
concluded, the plaintiff's later suit continued to seek

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essentially similar relief--the courts have denied the
plaintiff a second bite at the apple.

Lubrizol Corp. v. Exxon Corp., 871 F.2d 1279, 1288 (5th Cir. 1989).
See also The Restatement (Second) Judgments § 51 (1982).
Plaintiff has raised additional claims1 that defendants
Gammage, Jackson and Nelson suspended her on November 15, 2004, as
a result of an incident which occurred on October 22, 2004. She
alleges that these defendants began taking adverse personnel
actions against her immediately after she filed her charge of
discrimination on November 10, 2004.2 Plaintiff does not allege
that she filed a charge of discrimination for any action of the
defendants taken as a result of the incident on October 22, 2004,
or for any action of the defendants taken after November 10, 2004,
the date she filed her charge of discrimination for the
disciplinary actions of June 17, 2004 and October 6, 2004.
Plaintiff has not attached any charge of discrimination or notice
of right to sue for any event occurring after October 6, 2004.
Exhaustion of administrative remedies is a prerequisite to the
filing of an employment discrimination case. See generally zipes

v. Trans World Airlines, 455 U.S. 385, 393 (1982); Parsons v.

 

l These claims are found in the motion to amend, filed in Shelby County

Circuit Court on December 27, 2004.

2 In the charge of discrimination plaintiff alleged that on June 17,

2004, she was issued a final written warning which resulted in a demotion and 5%
cut in pay. Plaintiff also alleged that she filed a grievance and at a hearing
held on October 6, 2004, the final written warning was reduced to a second
reprimand, however, the demotion and pay cut remained in effect. Plaintiff
received her notice of right to sue on November 12, 2004.

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Yellow Freight Svstems. Inc., 741 F.2d 871 {6th Cir. 1984).
Plaintiff has clearly not exhausted her administrative remedies on
her claims that the defendants retaliated against her after she
filed her charge of discrimination on November 10, 2004. As those
claims are unexhausted, those claims are DISMISSED without
prejudice so that plaintiff may exhaust her administrative
remedies.

Plaintiff's original and amended complaints present only
claims which are either premature and unexhausted or which are
clearly prohibited by res judicata. Furthermore, under Apple v.
lepp, 183 F.3d 477r 479 (6th Cir. 1999), a district court should
dismiss a paid complaint for want of subject matter jurisdiction if
the claims are "frivolous, attenuated, or unsubstantial." gee
Hagans v. Lavine, 415 U.S. 528, 536-37 (1974). Watkins’
contentions are legally frivolous in this Court because they are
either unexhausted or based on an “indisputably meritless legal
theory" of seeking relief twice on the same claims or issues.
Neitzke, 490 U.S. at 327. Plaintiff's claims are, therefore,
inadequate to invoke this Court's subject matter jurisdiction.
Accordingly, the complaint is DISMISSED pursuant to Fed. R. Civ. P.
12(h)(3). Hagans, 415 U.S. at 536-37; Apple, 183 F.3d at 479.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken ip fp;ma pauperis if the trial court certifies in

writing that it is not taken in good faith. The good faith

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standard is an objective one. Copnedge v. United States, 369 U.S.
438, 445 (1962). The same considerations that lead the Court to
dismiss this case as devoid of subject matter jurisdiction also
compel the conclusion that an appeal would be devoid of subject
matter jurisdiction and would not be taken in good faith. lt is
therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a}(3), that any
appeal in this matter by plaintiff is not taken in good faith and
plaintiff may not proceed on appeal ip fppmp pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601, 612-13 (6th Cir. 1997); Callihan v.
Schneider, 178 F.3d 800 (6th Cir. 1999), apply to any appeal filed
by the plaintiff in this case. If plaintiff files a notice of
appeal, she must pay the entire $255 filing fee required by 28
U.S.C. §§ 1913 and 1917,3 or attempt to renew her request for leave
to appeal ip §pima pauperis by filing "within thirty days after
service of the district court's decision as prescribed by Fed. R.
App. P. 24(a)(4), a motion with [the Sixth Circuit] for leave to
proceed as a pauper on appeal." Callihan, 178 F.3d at 803. Under

Callihan, if the appellant does not within this thirty-day period

 

3 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, 1 l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the Clerk of the district court, by the appellant
or petitioner.

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either file the required motion nor pay the filing fee, the appeal
will be dismissed for want of prosecution. If the appeal is

dismissed, it will not be reinstated once the fee is paid. ld. at

804.

IT rs so oRDERED this 13 day of July, 2005.

to m“Q,Ql

PHIPPS MCCALLA
UO TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02007 Was distributed by fax, mail, or direct printing on
.1 uly 20, 2005 to the parties listed.

 

 

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